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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------------x
In re                                                         :
                                                              :
RCS CAPITAL CORPORATION, et al.,                              :
                                                              :
                             Debtors.                         :   Chapter 11
------------------------------------------------------------- :
RCS CREDITOR TRUST,                                           :   Case No.: 16-10223(MFW)
                                                              :
                             Plaintiff,                       :   Adv. Proc. No.: 18-50204
                                                              :
                          -against-                           :   Ref. Nos. 5, 6 and 10
                                                              :
SCHULTE ROTH & ZABEL LLP,                                     :
                                                              :
                             Defendant.                       :
                                                              :
--------------------------------------------------------------x

             REPLY MEMORANDUM IN SUPPORT OF MOTION FOR ORDER
                    TRANSFERRING ADVERSARY PROCEEDING
                 UNDER 28 U.S.C. §1412 AND FED. R. BANKR. P. 7087

                                           Preliminary Statement

                  The plaintiff creditor trust (“Trust”) argues that the “Court is already familiar with

this case” and should not transfer this action. (Trust Brief, at 2, 7). In its view, another court

should not “have to invest time on an entirely new matter.” Id. Nothing in the record, though,

shows the Court’s familiarity with this just-commenced action. The facts mandate transfer.

                  The Trust ignores the following indisputable facts:

                  •       28 USC § 1412 (court may transfer action “for the convenience of the
                          parties.”).

                  •       The debtors and the defendant Schulte Roth & Zabel (“SRZ”) are based in
                          New York City. Perschetz Aff., at 1-2, Exh. A.

                  •       Only two of the three SRZ clients were Delaware debtors for about 3½
                          months during 2016. Complaint ¶10; D.I. 769.

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                  •      The underlying Chapter 11 case was fully administered and the debtors’
                         plan became effective on May 23, 2016. Complaint ¶11; D.I. 782.

                  •      All three SRZ clients agreed to arbitrate in New York, but only two were
                         debtors in this Court. Perschetz Aff., at 1-2, Exh. A.

                  •      Debtors had hired SRZ as their special litigation counsel to continue
                         litigating on their behalf in New York after leaving them with an
                         unsecured $377,000 claim. Perschetz Aff., at 2, Exh. A.

                  •      The Trust has New York and Minnesota counsel prosecuting this action.
                         Complaint; Perschetz Aff., at 3.

                  •      All operative facts in this proceeding, including the challenged payments
                         and the relevant decisions, were made in New York. Perschetz Aff., at 2.

                  •      All participants reside in and the challenged payments were made in New
                         York City. Id.

                  •      The Trust Administrator is based in New York. Cook Aff., at 2.

                  •      This action could have been brought in the Southern District of New York.
                         Perschetz Aff., at 2.

                  •      The Trust is only suing in its representative capacity. Cook Aff., at 2.

                  •      The Trust imposed the cost of litigating on SRZ after the debtors left SRZ
                         with an unsecured claim of $377,000. Perschetz Aff., at 2.

                  The Trust also concedes the following:

                  •      Depositions and mediation are available in New York. Trust Brief, at 7.

                  •      Delaware’s only connection is a two-year old fully administered 3-1/2
                         month Chapter 11 case for two of SRZ’s three clients.

                  •      All knowledgeable witnesses are in New York. Perschetz Aff., at 3.

                  •      No party or witnesses are in Delaware. Cook Aff., at 2; Perschetz Aff., at
                         2.

                  •      No relevant records are in Delaware. Perschetz Aff., at 3.

                  •      None of the relevant challenged conduct took place in Delaware. Id., at 1-
                         2.



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                  In sum, the Trust ignores the facts. As noted in SRZ’s opening memorandum (p.

7), the Third Circuit requires a court to consider the relevant facts, using its discretion to

determine “on an individualized case-by-case basis, whether convenience and fairness

considerations weigh in favor of transfer.” Jumara v. State Farm Ins. Co. 55 F.3d 783, 883 (3d

Cir. 1993) (emphasis added).

                                                 Reply

                  The Trust failed to address the undisputed facts and failed to offer a shred of

evidence to support its legal maxims. A summary response to the Trust’s baseless arguments

shows why the Court should transfer this action.

                      Trust Argument                                       SRZ Reply

 1. Venue proper. (Trust Brief, at 2)                   1. Agreed, but venue neither convenient nor
                                                        fair. 28 U.S.C. § 1412; Jumara, 55 F.3d at 883;
                                                        In re DHP Holdings II Corp., 435 B.R. 264,
                                                        274 (Bankr. D. Del. 2010) (defendant’s
                                                        counsel in Texas; debtor’s operations in
                                                        Kentucky; defendant’s headquarters in
                                                        Georgia; because of physical locations,
                                                        plaintiff could not “show that Delaware is
                                                        more convenient than Georgia.”).

 2. SRZ a large law firm that represented               2. Irrelevant, if not offensive; issues are
 parties in Delaware. (Trust Brief, at 2)               fairness and convenience, not whether an SRZ
                                                        client retained and paid it in unrelated
                                                        Delaware litigation.

 3. SRZ authorized by this Court to represent           3. The debtors sought and obtained Court
 the debtors – “Delaware [not] a burdensome             authorization to continue using SRZ as its
 sojourn. . . .” (Trust Brief, at 2)                    special litigation counsel for litigation in the
                                                        Southern District of New York; hardly a
                                                        “sojourn.” Perschetz Aff., at 2, Exh. B.

 4. The Court is “familiar with the particular          4. Irrelevant and misleading: issue in this
 issues of the underlying bankruptcy case . . .”        proceeding is an alleged pre-bankruptcy
 (Trust Brief, at 2, 7)                                 preference that had nothing to do with a 3½-
                                                        month-old financial reorganization that ended
                                                        two years ago. In re Centennial Coal, Inc., 282

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                      Trust Argument                                     SRZ Reply
                                                       B.R. 140, 144-45 (Bankr. D. Del. 2000) (plan
                                                       consummated; transfer would not “delay
                                                       administration” of estate).

 5. The Trust chose Delaware to litigate this          5. Begs the question, for the Trust never
 dispute. (Trust Brief, at 2-3)                        shows with hard facts why Delaware is more
                                                       convenient for the parties or even fair to SRZ.
                                                       Facts matter. In re IPC Int’l. Corp., 2014
                                                       Bankr. LEXIS 4602 *5 (Bankr. D. Del. 2014).

 6. Venue of the underlying case found to be           6. Also begs the question, for the issue here is
 proper. (Trust Brief, at 3)                           whether this particular proceeding, on its
                                                       undisputed facts, should be litigated in
                                                       Delaware. As for the main case, venue was
                                                       solely based on the New York debtors’ state of
                                                       incorporation (Delaware).

 7. General rule: proceeding should be                 7. A legal maxim that ignores the particular
 litigated “where [underlying] bankruptcy case         facts of this action. Underlying case ended two
 is pending.” (Trust Brief, at 4)                      years ago.

 8. “Courts generally defer to . . . plaintiff’s       8. Another maxim that ignores the facts here,
 decision of venue if it is legally proper.”           based on fairness and convenience. Jumara, 55
 (Trust Brief, at 4)                                   F.3d at 882 (“everything related to this action
                                                       occurred” outside the forum court); Centennial
                                                       Coal, 282 B.R. at 146 (case transferred from
                                                       Delaware when “all claims … arose [in
                                                       defendant’s chosen forum] [where] most of the
                                                       parties and witnesses reside, and is the
                                                       principal place of business of both [debtor] and
                                                       [defendant].” Deference “lessened” when
                                                       plaintiff a non-resident and sues in
                                                       “representative capacity” Rader v. Bruister,
                                                       2010 WL 21797, * 5 (E.D. Cal. 2010) (also,
                                                       claims arose outside forum; forum had “little
                                                       interest in either . . . parties or . . . subject
                                                       matter of . . . lawsuit”; most parties reside
                                                       outside forum “whose stake in . . . action is, at
                                                       best, minimal . . . .”).

 9. Defendant’s “choice of forum . . . bears           9. One more maxim ignoring the facts here.
 less weight” than plaintiff’s choice.

 10. This is a preference action; contract             10. Ignores fairness, convenience of parties
 performance “irrelevant.” (Trust Brief, at 5)         (not one party based in Delaware), witnesses,

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                      Trust Argument                                      SRZ Reply
                                                        and the Trust’s New York counsel; the
                                                        underlying bankruptcy ended two years ago.
                                                        Preference actions are hardly unique to
                                                        Delaware.

 11. “. . . likely that this case will not be           11. Speculative; self-serving; no factual
 document-intensive and . . . discovery will be         support. Overlooks some of SRZ’s affirmative
 limited to paper exchanges.” (Trust Brief, at          defenses (e.g., ordinary course of business;
 6)                                                     solvency). See Answer, March 6, 2018 (Dkt.
                                                        No. 4).

 12. “[F]orcing the estate to prosecute this            12. Speculative; unsupported by any evidence.
 action in [New York] will increase                     The reorganized debtors assigned the
 administrative expenses, lower the amounts             preference claim here to the Trust; the main
 available for distribution under the . . . Plan,       Chapter 11 case has been over and done with
 and sap the temporal and financial resources           for two years. The Trust’s New York and
 of the Debtor.” (Trust Brief, at 6)                    Minnesota counsel can prosecute this action in
                                                        New York at no additional expense.

 13. Mediation and depositions can take place           13. Confirms that New York is a more
 in New York (Trust Brief, at 7)                        convenient forum.

 14. Convenience of witnesses not important             14. But fairness, convenience, and
 (Trust Brief, at 7-8)                                  unnecessary expense to SRZ, loyal counsel to
                                                        the debtors with a $377,000 unsecured claim,
                                                        are undisputed; as a matter of simple fairness
                                                        alone, this action should be litigated in New
                                                        York.

 15. Enforceability of money judgment favors            15. Nonsensical; SRZ never raised the issue.
 keeping action “with this Court.” (Trust
 Brief, at 8)

 16. Trust has other preference actions                 16. Irrelevant. Trust has New York and
 pending in Delaware. (Trust Brief, at 8-9)             Minnesota counsel; SRZ not a party to other
                                                        actions; this proceeding is at a preliminary
                                                        stage (answer filed on March 6, 2018) (Dkt.
                                                        No. 4).

 17. More “economical” for this Court to keep           17. Unsupported, self-serving speculation; no
 the action (Trust Brief, at 9).                        evidentiary basis. Court has no familiarity
                                                        with this action.

 18. Transfer “would open the door for . . .            18. Unsupported, self-serving speculation.
 other preference defendants . . . . “ (Trust           The Trust’s New York counsel can prosecute

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                      Trust Argument                                     SRZ Reply
 Brief, at 9)                                          the action in New York at no identified
                                                       additional cost.

 19. This Court can handle any state law               19. Agreed, but SRZ never raised the issue.
 issues. (Trust Brief, at 9-10)

 20. “New York has no interest in the                  20. Neither does Delaware; SRZ never argued
 preference action against” SRZ. (Trust Brief,         that New York Courts have a unique interest in
 at 10)                                                this action.


                                           CONCLUSION
                  For the reasons set forth above, this action should be transferred to the Southern
District of New York for the convenience of the parties and witnesses involved.

Dated: March 23, 2018
       Wilmington, Delaware

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